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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
BLAIR IMANI, et al.                    )
                                       )
                    Plaintiffs,        )  Docket No. 17-cv-00439-JWD-EWD
      v.                               )
                                       )
CITY OF BATON ROUGE, et al.            )
                                       )
                    Defendants.        )
______________________________________ )

      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                       SUMMARY JUDGMENT

       Plaintiffs Antonio Castanon Luna and Nadia Salazar Sandi hereby submit this

memorandum in support of their Motion for Partial Summary Judgment on their claims of

excessive force in violation of the Fourth Amendment.

                                      I.      INTRODUCTION

       Since 2000, it has been “clearly established” in this Circuit that it is “objectively

unreasonable for several officers to tackle an individual who was not fleeing, not violent, not

aggressive.” Trammell v. Fruge, 868 F. 3d 332, 343 (5th Cir. 2017). Since Defendant officers

Hamilton, Blust, and Crockett did exactly that to Plaintiffs Antonio Castanon Luna and Nadia

Salazar Sandi, summary judgment should follow.

       On July 10, 2016, Mr. Luna and Ms. Sandi attended a peaceful protest related to the

killing of Alton Sterling by Baton Rouge Police Department officers. Once they observed police

in full riot gear who were escalating actions against protesters, they decided to leave the protest

area. They made it as far as the sidewalk on the corner of Government Street and Maximillian

Street where a police barricade prevented them from leaving. At that point, Mr. Luna and Ms.

Sandi stopped to wait for a friend before finding a way to get to their car to leave.




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       Mr. Luna and Ms. Sandi joined in some chants as they waited, but they stayed on the

sidewalk and out of the road, in compliance with police orders to clear the roads. Despite this,

three Baton Rouge Police Department officers targeted and tackled Mr. Luna and Ms. Sandi to

the ground without warning, held them down on the ground, and wrenched Mr. Luna’s ankle and

knee, injuring him. Defendants used zipties to restrain each Plaintiff; they were tied so tight to

the hands of Mr. Luna and Ms. Sandi that their hands tuned purple and went numb. Despite

requests for medical care, neither Plaintiff was given any medical attention for hours.

       It is undisputed that several Baton Rouge officers tackled Mr. Luna and Ms. Sandi even

though they were not fleeing, not violent, and not aggressive. Accordingly, Mr. Luna and Ms.

Sandi respectfully request that this Court grant them partial summary judgment on the issue of

excessive force.

                                    II.     LEGAL STANDARD

       Summary judgment is appropriate when there “is no genuine issue as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “Where the

record taken as a whole could not lead a rational trier of fact to find for the non-moving party,

there is no genuine issue for trial.” Matsushita Electric Industrial Co. v. Zenith Radio Corp., 475

U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). The moving party “bears the initial

responsibility of informing the district court of the basis for its motion, and identifying those

portions of [the record] ... which it believes demonstrate the absence of a genuine issue of

material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265

(1986). Once the movant meets this burden, the burden shifts to the non-movant “to make a

showing sufficient to establish the existence of an element essential to that party's case, and on

which that party will bear the burden of proof at trial.” Id. at 322, 106 S.Ct. 2548. The non-

movant must offer “specific facts” rather than “mere allegations or denials” in order to defeat a

motion for summary judgment. Fed. R. Civ. P. 56(e).



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                       III.    UNDISPUTED FACTUAL BACKGROUND

       On July 10, 2016, Plaintiffs Antonio Castanon Luna and Nadia Salazar Sandi participated

in the protest march to the state capitol building. Ex. A (“Declaration of Nadia Salazar Sandi”);

Ex. B (“Declaration of Antonio Castanon Luna”). The police had closed several streets in the

area. Id. After the march, Plaintiffs had trouble returning to their vehicle that was parked near

the interstate and Government Street. Id. They stopped at the intersection of East Boulevard and

France Street when they encountered a group of police equipped with riot gear. Id. They were

unable to reach their vehicle and the police steered them back into the protest. Id.

       Mr. Luna and Ms. Sandi joined protesters near Lisa Batiste’s yard. Id. While there, the

police ordered the protesters to clear the area and told them they would be arrested if they did

leave. R. Doc. 59 at ¶ 106. When law enforcement advanced on Ms. Batiste’s property, Plaintiffs

saw law enforcement violently throw protesters to the ground and arrest them. Ex. A at 6, B at 6.

Plaintiffs left the intersection and made their way to the sidewalk on the corner of Government

Street and Maximillan Street; at that corner, the police blocked them again. Ex. A at 7, B at 7.

They stopped there to wait for a friend before finding a way to get to their car to leave, as police

had directed. Id. at 8. While waiting, they joined in some of the protest chants. Id. They believed

that they were following police orders by standing on the sidewalk. Id. at 9. At no point did

either Mr. Luna and Ms. Sandi stand in the roadway. Id.

       Then Officer Alan Hamilton, Cpl. Brandon Blust, and Ofc. James Crockett tackled Mr.

Luna and Ms. Sandi to the ground. Id. at 10; Ex. C at Int. 22 (“Supplemental Answers to

Plaintiffs’ Fourth Set of Interrogatories to Chief Murphy Paul”).

       News video confirms that Mr. Luna and Ms. Sandi were standing on the sidewalk at the

time of the tackle, with Ms. Sandi’s hand on a sign-post. Figure 1, below, shows the moment at

which an officer initiates the use of force. The subsequent figures show the sequence of events.

These figures are screenshots taken from videos attached here as Exhibits D, E, and F.



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  Figure 1: Nadia and
  Antonio (red circle)
  holding onto the street sign
  post as an officer (right)
  tackles Nadia from behind.




Figure 2: Ofc. Alan
Hamilton, Cpl. Brandon
Blust, and Ofc. James
Crockett tackle Nadia and
Antonio to the ground.

                                 Those officers are pictured below




Figure 3: The officers
complete the tackle.




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 Figure 4: Nadia and
 Antonio lay limp and
 compliant as the officers
 ziptie their hands together.




 Figure 5: Antonio is
 dragged by the officers for
 transport to the parish jail.




       Video shows both Plaintiffs hitting the ground hard and being held down by the officers.

Ex. D at 10:40, E at 00:58, F at 05:40. Mr. Luna and Ms. Sandi were pushed into the ground as

officers ziptied their hands. Exhibits A at 11, B at 12, D at 10:40, E at 00:58, F at 05:40. Before

long, both Plaintiffs experienced numbness from the zipties and Ms. Sandi’s hands began to turn

purple. Ex. A at 11, B at 12. Throughout this, bystanders can be heard on video asking the police

what Mr. Luna and Ms. Sandi had done wrong. Ex. F at 06:00.




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        According to their arrest documentation, Mr. Luna and Ms. Sandi were arrested for

obstructing public passages under La. R.S. 14:100:1, as well as resisting an officer under La.

R.S. 14:108. Exhibits G, H.

                                          IV.     DISCUSSION

        The Fourth Amendment creates a “right to be free from excessive force during a seizure.”

Poole v. City of Shreveport, 691 F.3d 624, 627 (5th Cir. 2012); accord U.S. Const. amend. IV. A

plaintiff alleging excessive force must prove three elements for a successful claim of excessive

force: (1) an injury; (2) that the injury was a direct result of the use of force; and (3) that the use

of force was clearly unreasonable. See, Trammell v. Fruge, 868 F.3d 332, 340 (5th Cir., 2017);

Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir. 2009); quoting Tarver v. City of Edna, 410

F.3d 745, 751 (5th Cir. 2005).

        Determining whether a particular use of force was reasonable “requires careful attention

to the facts and circumstances of each particular case, including the severity of the crime at issue,

whether the suspect poses an immediate threat to the safety of the officers or others, and whether

he is actively resisting arrest or attempting to evade arrest by flight.” Graham v. Connor, 490

U.S. 386, 396, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989). These factors are judged through an

objective lens of a reasonable officer on the scene at that time. Id. at 396-397.

        The Fifth Circuit has laid down a clear marker for a specific set of facts for what

constitutes excessive force. In Trammell v. Fruge, 868 F. 3d 332, 343 (5th Cir. 2017), the court

held that it has been “clearly established” since at least 2013 that it is “objectively unreasonable

for several officers to tackle an individual who was not fleeing, not violent, not aggressive.”

        A. Injuries sustained by Mr. Luna and Ms. Sandi as a result of the excessive force are
           cognizable and were a direct result of the use of force.

        The first two elements of an excessive force claim are (1) an injury (2) resulting from a

use of force. Trammell, supra, at 340. “[T]he extent of injury necessary to satisfy the injury




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requirement is ‘directly related to the amount of force that is constitutionally permissible under

the circumstances.’” Brown v. Lynch, 524 Fed.Appx. 69, 79 (5th Cir. 2013) (quoting Ikerd v.

Blair, 101 F.3d 430, 434–35 (5th Cir. 1996). As a result, any injury suffered from an

unreasonable use of force “necessarily exceeds the de minimus threshold.” Id. Relatively

insignificant physical injuries as well as “purely psychological injuries” are cognizable so long

as the officer’s use of force was unreasonable. Brown, 524 Fed. Appx. at 79.

       Mr. Luna and Ms. Sandi’s injuries easily exceed this low threshold. Defendants tackled

both Plaintiffs onto a concrete surface. Exhibits A at 10, B at 10, D at 10:40, E at 00:58, F at

05:40. Officers held both Plaintiffs on the ground, injuring both Plaintiffs and wrenching Mr.

Luna’s ankle and knee. Id. Those undisputed facts, alone, are sufficient for a claim of

unreasonable force. Yet Plaintiffs continued to suffer after that point, including their hands

turning purple due to the cuffs cutting off circulation. Ex. A at 11. Mr. Luna experienced

swelling of his ankle so severe that blood could not flow to his feet. Ex. B at 13. Ms. Sandi

reported fearing for her life and being terrified that the last time she would ever see Mr. Luna,

who was her husband when they were forcefully separated at the hands of Defendants. Ex. A at

12.

       Just considering the injury from the tackle itself and excluding the subsequent resulting

injuries, Plaintiffs’ injuries equal or exceed those found to exceed the de minimus threshold. See,

e.g., Alexander v. City of Round Rock, 854 F.3d 298 (5th Cir., 2017) (Officers tackled Plaintiff,

pinning him into the concrete, and manipulated his torso, neck, and head); Sam v. Richard, 887

F.3d 710 (5th Cir., 2018) (Plaintiff suffered a slap and minor bleeding from a scrape); Bone v.

Dunnaway , 657 Fed.Appx. 258, 262 (5th Cir. 2016) (Plaintiff suffered bruising and a swollen

cheek); Schmidt v. Gray, 399 Fed.Appx. 925, 928 (5th Cir. 2010) (Plaintiff’s finger was swollen

and bruised after being slammed in a car door by Defendant); Williams v. Bramer, 180 F.3d 699,




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704 (5th Cir. 1999) (Plaintiff suffered dizziness, coughing, and a loss of breath after being

choked by Defendant). Summary judgment should follow.

       B. Defendants’ use of force was unreasonable because it is identical to what the Fifth
          Circuit ruled “objectively unreasonable” in Trammell.

       The third element of an excessive force claim is that the use of force was clearly

unreasonable. Trammell, supra, at 340. Police officers are permitted to use some degree of force

when seizing an individual for arrest, but the amount of force must be objectively reasonable

considering the context “without regard to [the officers’] underlying intent or motivation.”

Graham v. Connor, 490 U.S. 386, 397 (1989). Reasonableness depends on “the severity of the

crime at issue, whether the suspect poses an immediate threat to the safety of the officers or

others, and whether he is actively resisting arrest or attempting to evade arrest by flight.” Id.

Minor offenses will “militat[e] against the use of force.” Trammell, supra, 868 F.3d at 340.

       Here, it is undisputed that Mr. Luna and Ms. Sandi were standing on a sidewalk at the

time of the use of force. Ex.A at 10, B at 10, D at 10:40, E at 00:58, F at 05:40. Each were

arrested and booked for obstructing public passages under La. R.S. 14:100:1, as well as resisting

an officer under La. R.S. 14:108. Ex. G, H. Charges against both of them were dropped. Exhibits

J at Int. 16, 17 (“Nadia Salazar Sandi Responses to Interrogatories”) and K at Int. 16, 17

(“Antonio Castanon Luna Responses to Interrogatories”). These minor, non-violent offenses do

not justify the degree of force used by Defendants. Defendants tackled Mr. Luna and Ms. Sandi

to the ground, held them down forcefully, and ziptied their hands so tight that they went numb

and turned purple. Exhibits A at 10-11, B at 10-12. Mr. Luna’s knee and ankle were wrenched

and injured as a result of Defendants tackling him. Ex. B at 11. Even assuming they did obstruct

a public passageway, there is no relation between this high degree of force and their actions as

alleged by the arresting officers. Such a use of force has been declared “objectively

unreasonable.” Trammell v. Fruge, 868 F. 3d 332, 343 (5th Cir. 2017) (“objectively




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unreasonable” for “several officers to tackle an individual who was not fleeing, not violent, not

aggressive.”)

          As for the allegation of resisting an officer, such a claim does not give law enforcement a

free pass to use any amount of force. Trammell, 868 F.3d at 341. When an individual passively

resists arrest, use of force is unreasonable. Id.; see also Hanks v. Rogers, 853 F.3d 738, 743 (5th

Cir. 2017); Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir. 2009); Goodson v. City of Corpus

Christi, 202 F.3d 730, 734, 740 (5th Cir. 2000). An officer must also give an individual a

reasonable about of time to comply with an order before resorting to force. Trammell, 868 F.3d

at 342.

          Video of the incident shows that both Mr. Luna and Ms. Sandi were standing on a

sidewalk when they were tackled by officers. Ex. D at 10:40, E at 00:58, F at 05:40. A witness

can be heard on one video confirming this, stating that Mr. Luna “was just standing there. He

was just standing there.” Ex. F at 7:20. At no point in the video can you hear or observe the

officers giving either Mr. Luna or Ms. Sandi an order to comply; indeed, you can hear an order

given over a loudspeaker only after they were both tackled to the ground. Ex. D, F.

          According to Baton Rouge Police Department General Order No. 135, “Less Lethal

Force,” passive resistance is defined as “[p]assive physical actions such as going limp, refusing

to place hands in a position to be hand-cuffed or what is commonly considered to be

demonstrator resistance.” Ex. I (emphasis added). The video footage of the arrest does not

show Mr. Luna resisting at all (Ex. D, E, F) – even assuming all facts in favor of Defendants, he

barely reaches the level of passive resistance as defined in the General Order. Ex. I. Even

assuming Mr. Luna’s actions could be construed as passive resistance, use of force would be

improper. Trammell, 868 F.3d at 342.

          Further, even if Mr. Luna or Ms. Sandi had actively resisted arrest, the tackle which is the

basis of this Motion occurred before any alleged resistance while he was being handcuffed. As



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shown in the video footage, Plaintiffs were standing on the sidewalk, nowhere near law

enforcement when Defendants Blust, Hamilton, and Crockett tackled them from behind. Ex, D,

E, and F. Defendants cannot allege resistance retroactively to justify their use of force – the force

must be reasonable when it occurred. Trammell, 868 at 340 (emphasis added).

       Because the degree of force greatly exceeded what was objectively reasonable in light of

the circumstances, Defendants violated Mr. Luna and Ms. Sandi’s Fourth Amendment right to be

free from excessive force during a seizure.

       C. Defendants are not entitled to qualified immunity.

       Qualified immunity shields government officials “from liability for civil damages insofar

as their conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727,

73 L.Ed.2d 396 (1982). This immunity only applies when (1) law enforcement’s conduct

violated a constitutional right, and (2) that right was clearly established. Saucier v. Katz, 533

U.S. 194, 201, 121 S.Ct. 2151, 150 L.Ed.2d 272 (2001). That Defendants’ conduct violated Mr.

Luna and Ms. Sandi’s Fourth Amendment rights to be free from excessive force was discussed in

Parts IV-A and IV-B, so a qualified immunity defense will only succeed if Defendants can show

that the right was not clearly established law.

       For a right to be considered clearly established, “[t]he contours of the right must be

sufficiently clear that a reasonable official would understand that what he is doing violates that

right.” Anderson v. Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d 523 (1987).

“Although this does not mean that ‘a case directly on point’ is required, ‘existing precedent must

have placed the statutory or constitutional question beyond debate.’” Ashcroft v. al-Kidd, 563

U.S. 731, 741, 131 S.Ct. 2074, 179 L.Ed.2d 1149 (2011). This inquiry primarily focuses on

whether the Defendant had fair warning that the action constituted a violation. Ramirez v.

Martinez, 716 F.3d 369, 379 (5th Cir. 2013).



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       By July 2016, the Fifth Circuit concluded that law enforcement violated the Fourth

Amendment for similar uses of force in situations involving passive resistance and low-level

offenses that posed no threat to officers. See, e.g., Deville v. Marcantel, 567 F.3d 156, 167 (5th

Cir. 2009); Goodson v. City of Corpus Christi, 202 F.3d 730, 734, 740 (5th Cir. 2000).

       Most on-point of all is Trammell v. Fruge, 868 F. 3d 332 (5th Cir. 2017). In that case, an

intoxicated motorcyclist in 2013 refused to comply with two direct orders by an officer. Id. at

335. The motorcyclist resisted arrest by pulling his arm away from the officer, and then was

tackled to the pavement by several officers. Id. at 337. The Fifth Circuit reversed a grant of

defendants’ summary judgment because it was “clearly established” since at least 2000 that it is

“objectively unreasonable for several officers to tackle an individual who was not fleeing, not

violent, not aggressive.” Id. at 343 (citing Goodson v. City of Corpus Christi, 202 F.3d 730 (5th

Cir. 2000)).

       Here, as detailed above, Plaintiffs were not fleeing, not violent, not aggressive. Ex. A at

10, B at 10, D at 10:40, E at 00:58, F at 05:40. They were standing on a sidewalk, holding onto

each other and a street sign. Id. They were tackled from behind to the pavement by three officers,

apparently on suspicion for the low-level offense of misdemeanor blocking of a street or public

passage. Id. Accordingly, the officers’ use of force was “objectively unreasonable” under the

state of the law in 2016. See, e.g., Goodson, 202 F.3d at 740.

       Furthermore, these officers would each have been trained on and aware of Baton Rouge

Police Department General Order No. 135 titled “Less-Lethal Force.” Ex. I. As stated in the

policy section of that Order:

       It is the policy of the department that the use of force will be limited to situations
       involving resistance to arrest, defense against physical assault or to perform
       official duties, and that only force which is reasonable and necessary may be used
       to achieve these objectives.




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       It is the responsibility of each employee to become knowledgeable of the
       provisions of this article and to guide his actions based on this policy and his
       training.
       …
       The use of force should follow a prescribed continuum: physical presence, verbal
       direction, aerosol subject restraint, soft empty hand control, hard empty hand
       control, TASER, intermediate weapons and finally when appropriate the use of
       deadly force.

Id. The officers’ actions of tackling Plaintiffs – whether justified or not – most closely align with

the definition of “Hard empty hand control,” which is defined in the Order as “[e]mpty hand

control techniques which have a probability of causing bruising or minor lacerations to the skin”

rather than the level just below that on the continuum, “Soft Empty Hand Control” which are

“hand control techniques which do not have a probability of injury (i.e. transport wrist locks,

pressure points or simple strength techniques).” Id. The next level on the continuum is “TASER”

followed by “Intermediate Weapons.” Id. Defendants Blust, Hamilton, and Crockett would have

been trained in this continuum and yet still chose to employ “Hard empty hand control” to

respond to Plaintiffs allegedly obstructing a public passageway, far exceeding the response

mandated under the General Order.

       Defendants ignored both clearly established law and their own department policies when

they bypassed the first four levels on the continuum and immediately engaged in hard empty

hand control by tackling Mr. Luna and Ms. Sandi, holding them on the concrete, and wrenching

their limbs into physical compliance. They are therefore not entitled to qualified immunity.

                                      V.     CONCLUSION

       Even if Defendants’ characterization of the events at issue are taken as true, the use of

force by Baton Rouge Police Department officers Alan Hamilton, Cpl. Brandon Blust, and Ofc.

James Crockett against Plaintiffs Antonio Castanon Luna and Nadia Salazar Sandi was clearly

unreasonable. Therefore, Plaintiffs Antonio Castanon Luna and Nadia Salazar Sandi urge this




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Court to grant the Motion for Partial Summary Judgment on their claims of excessive force in

violation of the Fourth Amendment.

                                                   Respectfully submitted,

                                                   /s/ David Lanser
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Exhibits:

Ex. A: Declaration of Nadia Salazar Sandi

Ex. B: Declaration of Antonio Castanon Luna

Ex. C: Supplemental Answers to Plaintiffs’ Fourth Set of Interrogatories to Chief Murphy Paul.

Ex. D: Video entitled “Juvenile Justice Information Exchange.mp4” which can be viewed at
https://www.dropbox.com/s/cq5vkkr7roq0xz2/Juvenile%20Justice%20Information%20Exchang
e.mp4?dl=0

Ex. E: Video entitled “Hundreds arrested BLM MSNBC.mp4” which can be viewed at
https://www.dropbox.com/s/gi7syejcs78lm3u/Hundreds%20arrested%20BLM%20MSNBC.mp4
?dl=0
Ex. F: Video entitled “Christine L. Dixon was live2 (Antonio & Nadia).mp4” which can be
viewed at



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https://www.dropbox.com/s/pba6r962ke5axca/Christine%20L.%20Dixon%20was%20live2%20
%28Antonio%20%26%20Nadia%29.mp4?dl=0
Ex. G: Affidavit of Probable Cause for the Arrest of Antonio Castanon Luna.

Ex. H: Incident Report for Nadia Salazar Sandi.

Ex. I: Baton Rouge Police Department General Order No. 135, “Less-Lethal Force.”

Ex. J: Nadia Salazar Sani Responses to Interrogatories

Ex. K: Antonio Castanon Luna Responses to Interrogatories




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